  Case
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

 FEDEX SUPPLY CHAIN                                )
 LOGSTICS & ELECTRONICS, INC.                      )
                                                   )
        Plaintiff,                                 )
                                                   )
 v.                                                )           Case No. 2:22-cv-02684-JTF-atc
                                                   )
 GENESIS NETWORKS ENTERPRISES,                     )
 LLC and JAMES GOODMAN                             )
                                                   )
        Defundanh.                                 )


                                           JUDGMENT
        Decision by Court. This action came for consideration before the Court. The issues have
 been duly considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED that this action is dismissed in accordance with the
 Order of Dismissal in favor of Plaintiff with Defendants being liable for $1,194,125.37 in damages,
 plus post-judgment interest from the date of the order at six percent per annum until the judgment
 is paid in full, entered on April 28, 2023. (ECF No. 13 .)

 APPROVED:
 s/John T. Fowlkes, Jr.
 JOHN T. FOWLKES, JR.                                        WENDY OLIVER
 UNITED STATES DISTRICT JUDGE                                CLERK

 April 28, 2023                                              Ameshia Forrest
 DATE                                                        (By) LAW CLERK




                                                                    CERTIFIED TRUE-CORY . ~
                                                                       Y J!:. OLWER, LERK
